                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF TENNESSEE

   AXA Ins. Co. a/s/o BSH Home Appliances Corp.
                  Plaintiff,
   v.                                                                  Case No. 3:21-cv-00047
   XPO Logistics
                  Defendant.


                           MOTION FOR ADMISSION PRO HAC VICE

          The undersigned, counsel for Defendant, XPO Logistics

   moves for admission to appear in this action pro hac vice.

          Pursuant to E.D. Tenn. LR. 83.5(b)(l). FILING FEE= $90.00

                  I am a member in good standing of the highest court of the following state,
                  territory or the District of Columbia (list ALL states):
                  New York (No. 3887), Florida (No. 634093), and Texas (No. 788801)
                  AND I am a member in good standing of another U.S. District Court. A
                  certificate of good standing from the DISTRICT court is attached. ).



          Pursuant to E.D. Tenn. LR. 83.5(b)(2). NO FILING FEE REQUIRED.

          D       An application for my admission to practice in this Court is currently pending.



          I declare under penalty of perjury that the foregoing is true and correct.



                                         ~-
          Date: May 14, 2021


                                            (Signature-hand signed)
   Name: Andrew R. Spector, Esq.
   Firm: Spector Rubin, P.A.
   Address:
            3250 Mary Street, Suite 405, Miami, Florida 33133; Tel. 305.537.2000


   Email address: andrew.spector@spectorrubin.com
                 Once your motion is granted, you must register as an E-Filer '"ith this Court. For
                                      instructions visit the Court's website.




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 Dated: May 14, 2021                                  Respectfully submitted,

                                                      BURR & FORMAN LLP

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                                                      AND



                                                      SPECTOR RUBIN, P.A.

                                                      /s/ Andrew Spector
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                                  CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on May 14, 2021, I electronically filed the foregoing with the

 Court’s electronic filing system, which will send a notice of electronic filing to all participating

 counsel of record.

                                                      BURR & FORMAN LLP

                                               By:    /s/ Kenneth M. Bryant
                                                      Kenneth M. Bryant




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